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                                  Declaration of Yael Schacher
I, Yael Schacher, make the following declaration based on my personal knowledge and declare
pursuant to 28 U.S.C. § 1746 as follows:
    1. I am an historian of U.S. immigration and asylum law and policy. I work at Refugees
       International, an independent non-profit organization founded in 1979 that researches and
       recommends policy solutions to forced displacement worldwide. Refugees International
       is located at 1800 M Street NW, Suite 405N, Washington D.C. 20036.

    2. I received my master’s in history from Harvard University in 2003 and a Ph.D. in
       American Studies from Harvard University in 2016. My dissertation was about the
       history of refugee and asylum law in the United States and was advised by immigration
       law faculty at the Harvard Law School. Between receiving my masters and my doctorate,
       I worked at the Harvard University libraries (in 2004) to develop a digital archive of
       primary sources on the history of immigration to the United States and taught courses
       related to U.S. immigration history both at Harvard (2006-2008) and the University of
       Connecticut (2011-2017). In 2016, I received a William Cromwell Foundation Early
       Career Fellowship from the American Society for Legal History to continue my research
       and writing on the history of U.S. asylum law. Between 2015 and 2017 I volunteered as a
       paralegal at the Connecticut Institute of Refugees and Immigrants. During the 2017-2018
       academic year, I was a migration history postdoctoral fellow at the Institute for Historical
       Studies at the University of Texas at Austin. I volunteered as a paralegal for Justice for
       our Neighbors in Austin while living in Texas that year. I began working at Refugees
       International in January 2019.

    3. Since receiving my doctorate, I have published several peer reviewed academic journal
       articles and book chapters on the history of U.S. asylum policy, including a book chapter
       that discusses the development of expedited removal in Whose America: U.S.
       Immigration Policy Since 1980 (University of Illinois Press, 2023).

    4. In 2021, I published a Refugees International policy report called “Addressing the
       Legacy of Expedited Removal: Border Procedures and Alternatives for Reform,” that
       chronicles the history of the implementation of expedited removal up to that time and
       draws upon my observations of the credible fear process in several detention facilities
       and interviews with asylum seekers (in the United States but also in Guatemala and
       Mexico) who had been placed in expedited removal.1 The report discusses flaws in
       expedited removal that had not been effectively addressed in over two decades of
       implementation: 1) enforcement officer failure to advise noncitizens that U.S. law


1 Yael Schacher, “Addressing the Legacy of Expedited Removal: Border Procedures and Alternatives for Reform,”

May 13 2021, https://www.refugeesinternational.org/reports-briefs/addressing-the-legacy-of-expedited-removal-
border-procedures-and-alternatives-for-reform/.
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        protects those facing persecution and to ask if they fear return, to accurately record fear
        claims and refer noncitizens with fear claims to credible fear interviews, as well as
        coercion of noncitizens to abandon their claims and sign documents they do not
        understand; 2) impediments to due process for noncitizens referred for credible fear
        interviews arising from their lack of access to information and counsel in detention,
        compounded by inadequate medical care and poor conditions of confinement; and 3)
        inadequate credible fear interviews that did not, as required by regulation, elicit all
        relevant information bearing on a credible fear of persecution or torture, and that
        demanded applicants meet a higher standard than the low threshold mandated by
        Congress.

    5. In 2024, I served as a subject matter expert and researcher for a report about expedited
       removal for the U.S. Commission for International Religious Freedom (“USCIRF”), an
       independent, bipartisan U.S. federal government commission created by the 1998
       International Religious Freedom Act. The report, “Barriers to Protection as of 2024,”
       updated previous reports by the Commission documenting flaws in the processing and
       detention of asylum seekers in expedited removal and assessed the implementation and
       relevance of the Commission’s prior recommendations to address these flaws and ensure
       the fair and humane treatment of bona fide asylum seekers.2 The report found that several
       prior Commission concerns about “flawed screening and documentation practices, a lack
       of training and quality control, inadequate information for noncitizens in the process,
       inappropriate [Immigration and Customs Enforcement] detention conditions” remained
       unresolved. USCIRF Report at 3.

    6. The report also pointed to new barriers to accessing and passing credible fear screenings
       by asylum seekers under policies put in place since 2022. These included a new
       “manifestation of fear” requirement for referral for a credible fear interview, instituted by
       the “Securing the Border” regulation first issued in June 2024. Under that requirement,
       noncitizens are not asked about fear when processed by enforcement officers and instead
       must affirmatively express fear to be referred by an officer to a credible fear interview.
       The report found that “CBP and ICE officers did not receive additional training on how to
       recognize a noncitizen’s manifestation of fear; CBP and ICE facilities did not provide
       adequate notice to noncitizens about this new requirement; CBP officers may be
       improperly assessing the credibility of fear claims (an issue also identified in USCIRF’s
       previous research); and intake procedures using contractors, virtual processing, and
       artificial intelligence could hinder a noncitizen from manifesting fear while in CBP
       custody.” USCIRF Report at 3.



2 USCIRF, Barriers to Protection as of 2024: Updated Recommendations on Asylum Seekers in Expedited Removal,

February 2025, https://www.uscirf.gov/sites/default/files/2025-
02/2025%20USCIRF%20Barriers%20to%20Protection.pdf.
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7. Other new policies addressed in the report included an accelerated timeline for credible
   fear interviews and immigration judge reviews, and the conduct of those interviews and
   reviews while noncitizens are detained in Border Patrol custody. These new policies
   meant that many people with fear claims were not referred for interviews, and, those that
   were, were unable to effectively prepare for their interviews and access counsel.

8. The manifestation of fear requirement was particularly difficult for victims of gender
   violence and rare language speakers reluctant or unable to affirmatively raise their fears
   without first being informed of their right to seek asylum and asked if they feared
   removal. The USCIRF report notes, “whether fear is manifested is open to interpretation
   and up to the discretion of the [CBP or ICE] officer.” USCIRF Report at 8.

9. For those noncitizens referred to interviews, the report notes, conditions in Border Patrol
   custody were difficult: “Detainees…are sleeping on the floor and sometimes sick from
   the cold conditions or the food, do not have freedom of movement, and have difficulty
   concentrating on their cases while taking care of their children. ” USCIRF Report at 11.

10. The report also found that credible fear interviews had become lengthy and confusing for
    bona fide asylum seekers, even if not detained, because they included: determination of
    whether the noncitizen could internally relocate to avoid persecution in the country they
    fled, assessment of whether legally complex statutory bars to asylum applied to the
    noncitizen, and imposition of an elevated legal standard on those who could not meet
    narrow exceptions to the Circumvention of Lawful Pathways regulation.

11. Since 2018, I have observed conditions under which the expedited removal process takes
    place at Karnes County Immigration Processing Center, Dilley Immigration Processing
    Center, Rio Grande Processing Center, Laredo Processing Center, IAH Polk Adult
    Detention Facility, Central Arizona Florence Correctional Center, Eloy Detention Center,
    Otay Mesa Detention Center, as well as CBP processing facilities in El Paso and Yuma. I
    have also observed credible fear screenings conducted telephonically with people
    detained in ICE facilities in Texas and Louisiana and in CBP custody in Texas, and
    conducted in person with people in the non-detained Family Expedited Removal Program
    (“FERM”). Finally, I have interviewed at least 100 people placed in expedited removal in
    U.S. detention facilities, released from detention, and removed from the United States.

12. A problem that pervades the expedited removal process in all contexts is inadequate
    language access. A detained individual who speaks a rare language—such as an
    Ecuadorian national who speaks Kichwa or a Peul speaker from Burkina Faso—cannot
    communicate their fear to an enforcement officer, nor request a referral to a credible fear
    interview. Legal orientation is not available in their language that would allow them to
    know what to expect in a credible fear interview. They cannot ask guards to allow them to
    bring evidence to the credible fear interview, which anyway is frequently denied.
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   Credible fear interviews are frequently conducted in languages or dialects other than the
   asylum seeker’s best or native language or dialect. This can be traumatic and
   confounding to the noncitizen being interviewed. I have observed a noncitizen member
   of an ethnic minority that speaks a rare Kurdish language pressured to answer questions
   in the language of his persecutor. It can also lead to grave error. I have seen how lack of
   access to information about the purpose of the interview and conduct of the interview
   without an interpreter in the best language has led to inappropriate negative credible fear
   determinations for an indigenous Mam speaker from Guatemala and a Hazara Dari
   speaker from Afghanistan.

13. On trips to Otay Mesa Detention Center in May 2023, Eloy Detention Center in
    December 2023, and IAH Polk Detention Facility in August 2024, a large proportion of
    the detained asylum seeking population were rare language speakers who could not
    communicate with the guards, access information or counsel in their language, and have
    credible fear interview in their preferred language. Even when asylum seekers who spoke
    rare languages, including people from Afghanistan, Bolivia, China, Chechnya, Eritrea,
    Ethiopia, Georgia, and Sudan, were able to pass their credible fear interviews, they
    remained in detention, which made it difficult for them to complete asylum applications
    and translate documents. This just exacerbates the difficulty of gathering documents—
    such as foreign medical and police records—to support asylum applications that all
    noncitizens face if they are detained after they pass their credible fear screenings.

14. Another systemic problem is that people who receive a negative credible fear
    determination do not receive an interview package with the asylum officer’s notes and
    decision from USCIS before their review by an immigration judge. They thus do not
    know the basis for their failing the credible fear interview.

15. Typically, immigration judges conducting reviews of negative credible fear
    determinations also do not allow noncitizens to explain discrepancies in their previous
    statements to asylum officers or to provide additional evidence or information not
    detailed in the credible fear interview; judges frequently limit noncitizens to yes or no
    answers. For example, a noncitizen who had his credible fear interview in the wrong
    dialect was not given an opportunity to explain to the judge that he feared persecution not
    primarily as a member of a particular social group, which was what the asylum officer
    noted, but for political reasons. Another noncitizen told me he was not able to correct
    dates in the record of his credible fear interview nor to explain to the judge that his wife
    had been killed by the persecutors he fled, crucial information that the asylum officer did
    not give him a chance to discuss.

16. The expedited removal procedure is also flawed when it occurs in a non-detained setting
    such as in the FERM program. This is because, on an accelerated timeline, asylum
    seekers frequently had not had time to consult with counsel in advance of their credible
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       fear interviews and immigration judge reviews. There is the same problem of lack of
       interpretation in the asylum seekers’ best language at the credible fear interview. Without
       orientation from counsel as to why they will be asked certain questions and without
       interpretation from their best language, it is very difficult for noncitizens to pass long and
       complicated credible fear interviews. This is especially the case if asylum officers cut off
       their answers, fail to ask informed follow-up questions related to country conditions and
       patterns and practices of persecution revealed in answers by noncitizens, and if the
       interviews are conducted in the presence of their children.

   17. In 2024, some of the people I interviewed who were removed from the United States to
       Nogales, Mexico did not know they had to “manifest” fear without being asked and how
       to do this in order to trigger referral for a credible fear interview. Others I interviewed
       had told CBP officials they wanted to seek asylum and so should have been referred for
       credible fear interviews even under the “manifestation of fear” requirement, but instead
       were summarily removed without being referred for interviews. In the El Paso Border
       Patrol processing facility, I was told officers did not refer all noncitizens who manifested
       fear for credible fear screenings but only those who the officers determined, through
       follow up questions, were fearful of return for non-economic reasons. The manifestation
       of fear requirement has, in practice, given enforcement officers the discretion to
       determine who is worthy of access to protection.


I declare under penalty of perjury that the foregoing is true and correct to the best of knowledge
and belief.


                                                      ___`_______________________
                                                      Yael Schacher
Executed on June 9, 2025 in Washington, D.C.
